
Kirtpatrick, C. J.
— Upon inspecting the reasons filed in this cause, the only one which seems, from the record, to be founded on fact, and which claims [49] consideration is *64the fourth, viz.: that the state of demand does not contain sufficient certainty.
It states the defendant to be debtor to the plaintiff, in these words, viz.: Feb. 6,1805, to a note which I hold against him for $53.50, without giving the date of the note. But this, though certainly very careless, I am of opinion, is not fatal; especially after trial and verdict. A note may be good without a date, and for aught that appeal’s, this may have been such an one, and the witness sworn may have proved the time of giving it, which is the real date.’ If the defendant had thought the state of demand really defective, and that for its uncertainty he could not make his defense, he should have taken the course pointed out by the act, he should have moved for a nonsuit.
In my opinion, therefore, this judgment must be affirmed.
Rossell, J. — Concurred.
Pennington, J.
— If the note had a date, it ought to have been stated; and also, whether the note was given [*] by the defendant to the plaintiff, or any other person and assigned to the plaintiff, ought to be pointed out in the state of demand; but as the note might not have had any date, after verdict, I am inclined to support the judgment; and, therefore, concur in affirmance.
Judgment affirmed.
